      Case 1:15-cr-00379-PKC Document 388 Filed 10/12/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,
                                                               S6 15 CR 379-6 (PKC)

                 -against-                                        ORDER

GEOVANNY FUENTES RAMIREZ,

                                    Defendant.
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P. KEVIN CASTEL, U.S.D.J.

                 Sentencing for Geovanny Fuentes Ramirez is adjourned from October

19, 2021 to January 11, 2022 at 11:00 a.m. in Courtroom 11D, 500 Pearl Street, New

York, New York.

                 SO ORDERED.




Dated: New York, New York
       October 12, 2021
